silng # 52479%%??§£%?1'§€{'899171/%§5'@?3]4;Q$%ii/“lem 1'2 F"ed 03/09/17 Page 1 Of 33

FORN| 1.997. C|VlL COVER SHEET

The civil cover sheet and the information contained herein neither replace nor supplement the filing and service of
pleadings or other papers as required by law. This form shall be filed by the plaintiff or petitioner for the use of the Clerk
of the Court for the purpose of reporting judicial Worl<load data pursuant to Florida Statutes section 25.075.

 

|N THE C|RCUIT COURT OF THE FOURTEENTH JUD|C|AL ClRCU|T,
|i\| AND FOR BAY COUNTY, FLOR|DA

 

|. CASE STVLE
CAROLYN HUTCHINSON
Plaintiff
vs

GEICO GEl\lERAL lNSURANCE COMPANY

 

Defendant

Case NO,_- 17000171CA

Judge:

F§@N o' "M'_JTAME s (Joe)

 

 

TYPE OF CASE

g Condominium

Contracts and indebtedness
g Eminent domain

Q Auto negligence

§ Negiigence - other

[E IE

Cil|:i|l]li]||:liEiEiEEiE

Business governance
Business torts
Environrnentai/Toxic tort

Third party indemnification
Construction defect

l\)lass tort

Neg|igent security

Nursing home negligence
Premises liability a commercial
Prernises liability - residential

Products liability
Rea| Propertyii\/lortgage foreclosure

ppmcp

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lEl

Cornmercial foreclosure $0 - $50,000
Commercia| foreclosure $50,001 - $249,999
Cornmercial foreclosure $250,000 or more
i~iomestead residential foreclosure $0 - 50,000
Homestead residential foreclosure $50.001 -
$249,999

Hon'iestead residential foreclosure $250,000 or
more

Non-homestead residential foreclosure $0 -
$50,000

Non-homestead residential foreclosure
$50.00‘| - $249,999

Non-homestead residential foreclosure
$250,00 or more

 

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Other real property actions $0 - $50,000
Oti'ler real property actions $50.001 - $249,999
Other real property actions $250,000 or more

F’rofessionai malpractice

i`\)laipractice - business
l\/la|practice - medical
l\/lalpractice - other professional

9

mmmo§oop

AntitrustiTrade Regu|ation
Business Transaction
Circuit Civil - Not Applicable

Constitutionai challenge-statute or
ordinance

Constitutionai challenge-proposed
amendment

Corporate Trusts
Discrimination-employment or other
insurance claims

intellectual property

Libel/Slander

Shareholder derivative action
Securities litigation

Trade secrets

Trust litigation

iE

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EXHIB|T

fe

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CON[PLEX BUS|NESS COURT

This action is appropriate for assignment to Compiex Business Court as delineated and mandated by the
Administrative Order. Yes § No §

l||. REMED|ES SOUGHT (check ali that apply):
i\/ionetary;
§ Non-rnonetary
§ l\lon-monetary deciaratory or injunctive relief;
§ Punitive

lV. NUN|BER OF CAUSES OF ACT|ON:( )

(Specify)
§
V. lS TH|S CASE A CLASS ACT|ON LAWSU!T?
§ Yes
§ No
Vl. HAS NOTlCE OF ANY KNOWN RELATED CASE BEEN FlLED?
No
§ Yes - |f “yes” list all related cases by name1 case number and court:
MOB
Vll. lS JURY TR|AL DEMANDED lN CON|PLA|NT?
§ Yes
§ No

 

l CERT|FY that the information l have provided in this cover sheet is accurate to the best of my knowledge and beiief.

Signature s/ Robert Waylon Thompson Fl_ Bar i\lo.; 769381
Attorney or party (Bar number, if attorney)

Robcrt Waylon Thornpson 02/14/2017
(Type or print name) pam

~ i“ Case 5:17-cv-OOO77-l\/lCR-GR.] Document 1-2 Fiied 03/09/17 Page 3 of 33
Filing # 52479550 E-Filed 02/14/2017 02:34:44 PM

li\i THE ClR_CUIT COURT OF THE FOURTEENTl-I JUDlClAL CIRCUIT
lN AND FOR BAY COUNTY, PLORIDA

cARoLYN nurcenisoi\i, and
her husbami, MANUEL B. HUTCHrNsoN,

Piaintit`t`s,
vs.
. Case No.:
GEICO GENERAL INSUR.ANCE COMPANY__

Det`enclant.
f

 

COMPLAINT WITH DISCOVERY ATTACHED
Plaintift`s, CAROLYN HUTCHINSON, and her husband, MANUEL B.
HUTCHINSON, by and through their undersigned counsei, hereby sue the Det`endant,
GEICO GENERAL INSURANCE COMPANY (hereinafter referred to as “GEICO”),

and state as follows:

 

GENERAL ALLEGATIONS
l. This is an action for damages that are in excess of the minimum
jurisdictional limit ofthis court.
2. The accident made the basis of this complaint occurred in Santa Rosa

County, Fiorida.

3. CAROLYN and MANUEL B. HUTCHINSON are residents of Bay
County, Florida.

4. At ali times material hereto, Defendant, GElCO, Was incorporated under
the laws of the State of Maryland, was authorized to transact business and actually doing

business in the State of Fiorida, maintained one or more agents or employees in Bay

l

Case 5:17-cv-OOO77-l\/lCR-GR.] Document 1-2 Fiied 03/09/17 Page 4 of 33

County, Florida, and at all times material hereto, provided uninsured/underinsured
motorist coverage to Plaintiffs hereinl

4 counri
' UNINSURED MOTORIST BENEFITS

Plaintiff, CAl:{Oi,‘r/`i\.I HUTCHINSON, by and through her undersigned counsel,
hereby sues the Defendant, GEECO, and states as follows'. '

5. Plaintift`incorporates paragraphs l through 3 as iffully set forth herein.

6. At ali times material hereto, the Plaintiff was covered under GEICO, Policy
Number 432960-7982 (`the` “Policy”), which provided uninsured motorist stacked benefits
to Piaintii"t` in the amount of $300,000.00. A copy ofthe Policy as provided by GEICO is
attached hereto as Exhibit “A”.

l 7. The policy ofinsurance was in full force and effect on Marcli 15, 2014, when
Plaintit`t` sustained damages as a result ot` negligent conduct by an uninsured/underinsured
motorist as that term is defined in Defendant, GEICO’S, policy.

S. The damages that Plaintif`f is entitled to recover exceed the amount of liability `
coverage that is available to Plaintiff as a result of the negligence of the uninsured
motoristl

9. As a result of the automobile crash caused by an uninsured motorist, Plaintit`f,
CAROLYN HUTCHINSON, has sustained injuries Which' have caused and Wili cause her
greal't pain and anguish, have rendered her permanently unable to enjoy a normal life and
have caused her to have to undergo surgery and extensive Curative treatment and to incur

obligations t'hcrci;`ore, which condition is continuing

ease 5:17-cv-00077-MC"R"-GR;1"'Document 1-2 Filed 03/09/17 Page 5 or 33

10. All conditions precedent to the bringing of this cause of action have been
satisfied or waived
WHEREFORE,‘Plaintiff, CAROLYN HUTCHlNSON, demands judgment
against Defendant, GEICO, for the i`ull amount of her uninsured motorist benefits under
the Policy plus costs ofthis action, and prejudgment interest to the extent allowed by law,
and further demands a trial byjury on all issues so triable.

COUNT II
CONSORTIUM CLAlM

Plaintiff, MANUEL B. HUTCHINSON, by and through his undersigned counsel,
hereby sues the Defendant, GE[CO, and states as follows;

l l. That he is the husband ofCAROLYN HUTCHINSON.

12. That as a resuit'ofthe injuries sustained by CAROLYN HUTCHINSON, as
aforesaid, he has sustained the loss oi`the services and consortium ot`his wife.

WHEREFORE, Plaintit`t`, MANUEL B. l"lUTCi~lll\iSOl\i,v sues the Det`endant,

GEICO, and by this Count, seeks damages and respectfully requests ajury trial

§_(LUMI.I_I
VIOLATIONS OF FLA. STAT. § 624.155

Plaintiffs, CAROLYN HUTCHINSON, and her husband, MANUEL B.
HUTCHINSON, by and through their undersigned counsel, hereby sue the Defendant,
GEICO, and state as follows:

13. Plaintit`i`s incorporate paragraphs l through 3 as if fully set forth herein.

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l4. This claim will ripen upon the determination by tlie Court or by confession
of judgment by GEICO that Plaintiffs are entitled to the limit of uninsured motorist
benefits under the Policy.

15. Plaintiffs timely reported this claim to GElCO and otherwise complied with
all of their obligations under the contract

16. On Septeinber 8, 2016_, Plaintiffs filed a Civil Remedy Notice of insurer
Violations (“CRN”) with the Florida Department_of insurance and served a copy of the
CR_N upon GEICO. A copy of the CRN is attached hereto as Exliibit “B”.

17. On or about September 12, 2016, GEICO was served, via certified
mail/return receipt requested, with a copy of Plaintiffs’ CRN. A copy of the
correspondence and executed green card receipt are attached hereto, as E)ihibit “Cl” and
“CZ”, respectively _

18. GldlCO failed to cure the defects giving rise to the CRN Within sixty (60)
days ofthe filing and service date of the CRN. l

19. On December 6, 2016, Plaintiffs filed a Second Civil Remedy Notice of
Insurer Violations (“CRN") with the Florida,Department of insurance and served a copy
ofth_e CRN upon GEICO. A copy of thc CRN is attached hereto as Exhibit “D”.

20. ' ()n or about December 12, 2016, GEICO was served, via certified
mail/return receipt requested, with a copy of Plaintiff`s’ CRN. A copy of the
correspondence and executed green card receipt are attached hereto, as _Exhibit “EI"’ and
“EZ”, respectively

2i. GEICO failed to cure the defects giving rise to the CRN within sixty (60)
4

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days ofthe filing and service date ofthe CRN.

22. As a result of the injuries caused by the negligence of the uninsured
motorist and the relationship between the parties under the Policy, GElCO owed a duty to
Plaintit`fs to attempt in good faith to settle,Plaintift`s’ uninsured motorist claim when,
under all the circunistances, it could and should have done so, had it acted fairly and
honestly toward its insureds and with due regard for Plaintiffs’ interests GEICO further
owed to Plaintiffs a duty to refrain from engaging _in unfair claim settlement practices

23. GEICO breached its duties to Plaintiff, in violation of section 624_155,
Florida Statutes, by: l

_ a. failing to attempt, in good faith, to settle Plaintiffs’ uninsured motorist
claim when, under all of the circumstancesJ it could have and should have
done so, had it acted fairly and honestly and with due regard ford Plaintiffs’
interests, who was an insured, in violation of section 624.155(1)(b)(1),
Florida Statutes;

b_. failing to properly train adjusters and claims personnel;
c. placing its own financial interests before that of Plaintiffs;
d. engaging in unfair claims settlement practices in violation of section
626.9541_(1)(i)3.a, c, d, f, and g, Florida Statutes. Specit`ically, GElCO:
i. failed to adopt and implement standards for the proper
investigation of claims, including coverage;
ii. failed to acknowledge and act promptly upon communications

with respect to Plaintiffs’ uninsured motorist claim, including its

5

CaSe 5217-CV-OOO77-|\/|CR-GR.] DOCUm€n't,l-Z Fil€d 03/09/17 Page 8 Of 33

failure to properly respond to Plaintiffs’ multiple written requests for
payment of all uninsured motorist benefits under the Policy;
iii. failed to conduct a reasonable investigation and evaluation of
Plaintift`s’ claini, based on the available information;
iv. failed to provide a reasonable written explanation ofthe basis in
the insurance policy, in relation to the facts or applicable'law,` for its
lack of reasonable settlement offers; and
v. failed to promptly notify Plaintiffs of any additional information
necessary for the processing of the uninsured motorist claim,
including what information GEICO’S employees required to
properly assess and determine whether Piaintiffs’ damages were in
excess of the coverage pursuant to GElCO’S policies and
procedures
24. The acts complained of herein constituted GEICO`S general business
practices in that they (a) were expressions of, and in compliance with, Standard company
practices and procedures, (b) are said by GEICO to be in conformity with what it
contends are standard and good faith claims practices, and consequently or incidentally,
(c) occur with such frequency as to indicate general business practices
25. As a direct and proximate result of GEICO’S actions and/or inactions as set
forth above, Plaintiffs have been damaged
26. GEI.CO failed to cure the defects giving rise to both CRNS within sixty

(60) days ar nw hung ana service date at the CRNS.
6

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2'?. As a result of GE[CO’S failure to act in good faith and statutory violations
alleged above. Plaintiffs are entitled to recover the total amount of their damages
pursuant to section 627.727(10), Florida Statutes, including all damages suffered as a
result of the crash and all damages caused by GEICO’S failure to act in good faith and
statutory violations alleged above.

28. GEICO’S violation of section 624.]55, Florida Statutes has caused
damages to Plaintiffs of interest on unpaid benefits, pre-judgment interest accrued since
the date ofGEICO’S violatioin attorney’s fees incurred by Plaintiffs in the prosecution of
their claim for uninsured motorist benefits and pre-judgment interest `thereon; costs
inculred in the prosecution of Plaintiffs’ claim for uninsured motorist benefits, including
expert witness 'fees; costs incurred in the prosecution of Plaintiffs’ claim for violation of
section 624.155,'Florida Statutes; and post-judgment interest

29. As a further direct and proximate result of GEICO’S failure to act in good
faith and statutory violations alleged above, Plaintiffs have to retain the services of the
undersigned attorneys and contracted with them for the payment of their attorney’s fees
to bring this action and recover the excess damages owed by GEICO. By operation of t
law, including sections 624.155, 627.428 and 627.727(10), Florida Statutes, GEICO, will
be obligated to pay those fees upon the successful conclusion ofPlaintiffs’ claim.

30. All conditions precedent to Plaintiffs’ rights to bring this action have
occurred or have been satisfied

WHEREFORE, Plaintiffs request that this Count be stayed pending the final

outcome of Counts ,l and ll above, and further demand judgment against Defendant,

7

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G.EICO, for the total damages Suffercd by Plaintiffs, pre and post-judgment interest1
attorneys’ fees pursuant to sections 624.]55, 627.727(10), and 627.428, Florida Statutes,
costs, and any other relief this Court deems proper,'and further demands a trial by jury on
all issues so triable.
DATED this 13th day of February, 2017.
MANUEL & THOMPSON, P.A.

/s/ R. Waylon Thompson

R. Waylon Thompson

Florida Bar No. 0769381
walen@manuelthornpson.com

314 Magnolia Avenue

Post Office Box l470

Panama City, FL 32402

Ph: 850-785-5555; Fx: 850-785-0]33
Attorney for Plaintiffs

.\'

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lN THE CIRCUIT COURT ()F THE`, FOURTEENTl-I JUDlClAL ClRCUlT
ll\l AND FOR BAY COUNTY FLORIDA

i'

CAROLYN HU'l`CHlNSON, and
her husband, MANUEL B. HUTCHINSON,

Plaintiffs,
vs. .
Case No.:
GEICO GENERAL lNSURANCE COMPANY,

Defendant.
/

 

PLAINTIFFS’ FIRST SET OF INTERROGATORIES PROPOUNDED TO
DEFENDANT, GEICO GENERAL INSURANCE COMPANY

Pursuant to Rule 1.340, Florida Rules of _Civil Procedure, Plaintiffs, CAROLYN
HUTCHINSON, and her husband, MANUEb B. HUTCHINSON, by and through the
undersigned counsel, hereby request Defendant, GEICO GENERAL INSURANCE
COl\/fPANY, to answer the following interrogatories, in writing and under oath, within
the time and in the manner required by the Florida Rules ofCivil Procedure.
DEFIN]TIONS:

I'l' ll

As used herein, the term “you, your" or "yours" refer to def`endant, its
employees, representatives servants, and unless privileged, its attorneys

Asused herein, the words "document" and "docum_ents" are to be broadly defined
to include, without limitation, the following items, whether printed or_ recorded or
reproduced_by any other mechanical process or written or produced by hand: contracts,

agreements, communications, correspondence, telegrams, telex, memorandum, notes,

summaries, memorandum or records of telephone conversations or interview, statements

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of witnesses, diaries, reports, receipts, notebooks, note charts, books, ledgers, lists,
summaries or records of meetings or conferences, summaries, studies or reports of
investigations or negotiations, technical studies or reports, test results, drafts, letters, any
marginal comments appearing on any document, voice recording tapes, microfilm or
microfiche, photographs, data processing cards or dislts, video recording tapes, calendars,
grafts, charts, computer prini-outs and other computer generated reports, including, but
not limited to, appointment books, calendars, bills for services rendered, and receipts
This also includes all drafts of documents and copies of such documents which contain
marginal notes or variations of any ofthe foregoing

These interrogatories are directed to representatives or agents of Defendant,
GEICO GENERAL INSURANCE COMPANY, who have knowledge about the matters
that are asked herein, and the individuals answering such questions are requested to sign,
designating title, current address and phone number.

INTERROGATORIES

l. W hat is the name and address of the person answering these interrogatories,

and, il"applicable, the person’s official position or relationship with the party to whom the

interrogatories are directed?

Answer:

2. List the names and addresses ofall persons who are believed or known by

you, your agents_, or your attorneys to have any knowledge concerning any of the issues

Case 5:17-cV-OOO77-I\/|CR-GR.] Document 1-2 Filed O3/09/17 Page 13 of 33

in this lawsuit; and specify the subject matter about which the witness has knowledge

Answer:

3. Have you heard or do you know about any statement or remark made by or
on behalf of. any party to this lawsuit, other than yourself, concerning any issue in this
lawsuit'? lt` so, state the name and address of each person who made the statement or
statements, the name and address of each person who heard it, and the date, time, place,
and substance of each statement

Answer:

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4. State the name and address of every person known to you, your agents, or
your attorneys who has knowledge about, or possession, custody, or control of,
any .model, piat, map, drawing, motion picture, videotape, or photograph l
pertaining to any fact or issue involved in this controversy; and describe as to
each, what item such person has, the name and address ot` the person who took or
prepared it, and the date it was taken or prepared

Answer:

5. Describe in detail what information you have from any source whatsoever that
indicates that the Piaintit`f caused or contributed to the accident in question or her
injuries

Answer:

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6. Please list any and all policy defenses which you reasonably believe are
available with regard to the claims made by the Plaintiff herein and describe in detail the
factual and legal basis for any such defenses and give complete names, business
addresses and telephone numbers of each and every person believed or known by you,
your agents or attorneys, to have knowledge of the facts which would provide the'basis
for such defenses

Answer:

7. Staie the names, residence addresses and business addresses of any and all
photographers, investigators or video operators which you have hired to take pictures,
motion pictures or videos which are in any way related to this lawsuit

Answer:

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8. List the names_. address and official positions of each and every person in your
employ or in the employ of anyone on your behalf who has had any involvement in the
review of the denial or withholding payment of the Plaintiff’s claim and state in what
capacity they were involved, the date they were involved and the nature of their `
v involvement.

Answ er:

_9. State the exact remaining amount of Uninsured/Underinsured Motorist
benefits and medical payment benefits (if medical coverage is provided) available under
the Plaintifi"s policy for the subject collision

Answer:

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lO. For each and every request for information sent by you to anyone
accompanied by a medical authorization given by the PlaintiffJ state the person or
company from whom information was requested, the date it was requested, the reason for
the request, the date there was a response, the nature of the response, and when, if ever,

the same information was requested from the Plaintiff or the Plaintiff’s attorney.

Answer:

ll. Describe in detail, each act or omission on the part, of any party to this
lawsuit you contend constituted negligence that was a contributing legal cause of the
collision in question

Answer:

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12.

With regard to each and every one of the above Interrogatories, for each

lnterrogatory which you are refusing to answer claiming privilege, please state:

Answer:

The privilege upon which Defendant relies in refusing to answer ther
lnterrogatory and all facts upon which Defendant relies in support of the
privilege

The names, business addresses, residence addresses, telephone numbers,
positions and`occupations ofall persons known or believed by Defendant to
have knowledge concerning the factual basis for Defendant’s assertion of
privilege with regard to the information

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GEICO GENERAL INSURANCE COMPNAY

 

 

By:
Title
STATE OF
COUNTY OF
t l '

The foregoing was acknowledged before me this day of ,
2017, by as agent or representative GEICO.
He/she is personally known to me or has produced (type

 

of identification) as identification and_who did/did not take an oath.

 

Notai'y Public
My commission expires:

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Filing # 52479550 E-Filed 02/14/2017 02:34:44 Pl\/I

IN Tl-IE CIRCUIT COURT OF THE FOURTEENTH JUDICIAL CIRCUIT
, l'N AND _FOR BAY COUNTY, FLORIDA

cAROLYN nurci-in~ison, aaa
~ her hussaaa, iviANuist s. nurcninson,

Plaintiffs,
vs. l
` , Case No.:
GEICO GENERAL lNSURANCE COMPANY,

Defendant.
/

 

PLAINTIFFS’ F[RST REQUEST F()R PRODUCTION TO DEFENDANT
GEIC() GENERAL INURANCE COMPANY

Pursuant to Rule 1.35(), Florida Rules of Civil_Procedure, Plaintiffs, CAROLYN
HUTCHINSON and her husb'and,‘ MANUEL B, HUTCHINSON, by and through the
undersigned counsel,' hereby request Defendant, GE]CO GE`NERAL lNSURANCE

f COl\/IPANY, to produce originals or a true and correct copy of the items set forth in the
attached Exhibit “A”,`subject to all objections, within forty-five (45) days of service at
the office of the undersigned Plaintiffs'request that ali copies or items produced be at
least full-size (8 ’/z" x ll_" or 8 l/:" x 14") and legible, otherwise originals are required

DEFINI’I`IONS

ll As used herein, the terms “you”, "‘your” or “yours” refer to Defendant, its
officers, directors, employees, representatives, agents, servants, all other persons or
entities related to the Dcfendaiit or acting or purporting to act on its behalf, and unless

privileged its attorneys

2c As used herein, the word “person’-’ means and includes every natural person

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(individual or individuals) including without limitation: corporations, companies, entities,
partnerships, limited partnerships, joint ventures, trusts, estates, public agencies,
departments, and boards l `

3. As used herein, the words “relating to”, “relates to” or “incident to” shall
mean concerning i'especting, referring to, summarizing digesting, einbodying,
ref`lecting,l establishing, tending to establish, tending not to establish, evidencing,
comprising, connected with, commenting on, responding to, disagreeing with, showing
dcscribing, analyzing, representing constituting or including

4. As used herein, the words “document” and “documents” are to be broadly
defined to include, without limitation, the following items, whether printed or recorded or
reproduced by any other mechanical process or written or produced by hand: contracts,
agreements, 'conimunications, correspondence, telegrams, telex, memoranda, iiotes,
summaries, memoranda or records of telephone conversations or interviews, statements
of witnesses, diaries, reports, receipts, notebooks, note charts, books, ledgers, lists,
summaries or records of meetings or conferences, summaries, studies or reports of
investigation or negotiations, technical studies or reports, test results, drafts, letters, any
marginal comments appearing on any document, voice recording tapes, calendars, graphs,
cliarts, computer printouts and other computer generated reports, including but not
limited to, appointment books, calendars, bills, or copies of such documents which
contain marginal notes or variations of any ofthe foregoing

5. As used herein, the word "produce” means to make available for inspection

and copying and to separate such documents into groups correlating with the number of

2

Case 5:17-cV-OOO77-I\/|CR-GR.] Document 1-2 Filed 03/09/17 Page 22 of 33

the individual request below.

INSTRUCTIONS

l. Defendarit shall file a written response to each corresponding paragraph of

this Request for Pi'oduction and shall produce the requested documents and things by the

category of request

2. v if any information is withheld under claim of privilege, furnish a list

identifying the information for which the privilege is claimed, together with the

following:

(H)

(b)
(C)
(d)

in
(s)
<h)
ti`)

A description of the nature and subject matter to the fullest extent

t consistent with the privilege or protection claimed;

The date;

The name and title of the author(s)‘,

The name and title of the person(s) to whom the document was
addressed;

The name and title of the person(s) to whom the document was sent;
The number of pages;

The paragraph to which the document is otherwise responsive; and
The nature of the claimed privilege

The names, business addresses, telephone numbers, positions, and
occupations of all persons known or believed by Defendant to have
knowledge concerning the factual basis for Defendant’s assertion of

privilege with regard to the documents

3

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t (j) All facts upon which Defendant relies in support of the privilege
EXHIBIT “A”

l. Copies of any and all forms, correspondence or reports received by you or
any of your agents on your behalf concerning the Plaintiffs medical condition from any
source

2. Copies of any and all correspondenceI forms, notations, memoranda or
information transmitted by you in any form whatsoever to any physician’s office or
health care provider’s office concerning the P]aintiff`s medical condition

3. Any and all statements given by the Plaintiff.

4. Any and all documentation writings, memorandums, notes or other
materials reflecting that Plaintiff either caused or contributed to causing the automobile
collision in question

5. Any and all surveillance reports, claims history reports or other
investigative reports prepared by you or on your behalf regarding the Plaintiff.

6. Any and all surveillance films or photographs taken by you or anyone on
your behalf of the Plaintiff(s).

'/'. Any and all statements taken by you of any witnesses with regard to any
fact relevant to any fact in this case

8. Any and all photographs or video taken by you showing the extent of the
damage to any ofthe vehicles involved in the collision

9. Any and all photographs or video taken by you ofthe scene ofthe collision

l(). Any and all estimates of repair or statements concerning the nature and

4

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extent of damage to any ofthe vehicles involved in the collision

ll. Any and all writings, memorandums, notes or other materials reflecting

examination by the Defendant of any of the vehicles involved in the collision

12. iCopies of any and all medical documentation t`rom any source that GElCO
GENERAL INSURANCE COMPANY obtained through the use of any medical

authorizations executed by Plaintiff.

TO BE SERVED WITH SUMMONS AND COMPLAlNT

MANUEL & THOMPSON, P.A.

/s/ R. Waylon Thompson

R. Waylon Thompson

Florida Bar No. 0769381
waylon@manuelthompson.com

3l4 Magnolia Avenue

Post Offrce Box 1470

Panama City, FL 32402

Ph: 850-785-5555; Fx: 850-785-0]33
Attorney for Piaintiffs

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lN THE CIRCUIT COURT OF THE FOURTEENTH JUDICIAL CIRCUIT
fl\l AND FOR BAY COUNTY, FLORIDA

CAROLYN HUTCHINSON, and
her husband, MANUEL- B. HUTCHINSON,

Plaintiffs,

VS.

Case No.:
GEICO GENERAL INSURANCE COMPANY,

De fendant.
/

PLAINTlFFS’ FIRST REOUEST FOR ADMISSIONS TO DEFENDANT.
GEICO GENERAL INSURANCE COMPANY

Pursuant to Rule 1.370 of the Florida Rules of Civil Procedure, Plaintiffs,
CAROLYN HUTCHINSON and her husband, MANUEL B. HUTCH[NSON, by and
through her undersigned counsel, hereby requests Defendant, GElCO GENER_AL
TNSURANCE COMPANY,- to admit the truth of the matters of fact hereinafter set forth
and/or the genuineness of the documents attached hereto within thirty (45) days after service
hereof, by answering in writing, by the individual Det`endant named above and/or by an
officer or agent of the Defendant, GElCO GENERAL INSURANCE COi\/IPANY, duly
authorized to answer the same.

l, Admit that a collision occurred on March l§, 20]4, in Bay County, Florida,
involving a motor vehicle operated by JOSIE HARVEY and owned by ANNIE
SCARBOROUGH.

2. Admit that the above-referenced collision occurred as a result ofthe negligent

operation ofthe motor vehicle by JOSlE HARVEY.

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Case 5:17-cv-OOO77-I\/|CR-GR.] Document 1-2 Fi|-ed 03/09/17 Page 26 of 33

3. Admit that as a result of the accident occurring on or about l\/larch 15, 2014,
Plaintiff, CAROLYN HUTCHlNSON, sustained permanent bodily injuries, legally caused
by the negligence of_lOSlE H_ARVEY.

4. Admit that there was no comparative negligence on the part of Plaintiff,
CAROLYN HUTCHINSON, contributing to the accident referenced in the Cornplaint.

5. Admit that there was no comparative negligence on the part of Plaintiff,
CAROLYN HUTCHH\TSON, contributing to the injuries she sustained in the subject
accident

6. Admit that there was no negligence on the part of a third party which was a
legal cause of the subject accidentl

7. Admit that all medical treatment received by Plaintiff, CAROLYN
HUTCHlNSON, as a result ofthe subject accident was necessary

8. Admit that all charges for medical treatment received by Plaintiff,

`CAROLYN HUTCHTNSON, as a result of the subject incident were reasonable in light of

charges for similar medical services in the community where rendered

9. Admit that Plaintiff purchased a policy of insurance with Defendant, GEICO
GENERAL iNSURANCE COMPANY, Policy Numbe1'4329607982 (the “Policy"), which
provided uninsured motorist coverage to the Plaintiff in the amount of $300,000 per
person.

l0. v Admit that the policy of insurance described above was in force and effect on

l\/larch 175, 20]4_

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Case 5:17-cv-OOO77-I\/|CR-GR.] Document 1-2- Filed 03/_03/17 Page 27 of 33

ll. Admit that Dcfendant, GEICO GENERAL INSURANCE COMPANY, was
timely notified of the loss and has not been prejudiced in any way regarding notice of the
claim for the subject accident l

12. Admit that Plaintiff, CARO LYN HUTCHINSON, has fulfilled all procedural

Conditions precedent to recovery under the above-referenced policy.

MANUEL & THOMPSON, P.A.

/s/ R. Wavlon Thomoson

R. Waylon Thompson

Florida Bar No. 0769331 7
wavlon@manue|thompson.com

314 Magnolia Avenue

Post Office Box 1470

Panama City, FL 32402 .

Ph; 850-785-5555; Fx: 850-785-0]33
Attorney for Plaintiffs

 

on 17 February, 2017 anydfs:erved on defendant or named party on 20 February, 2017

by the F|orida Department of Financial Services

` --'-'1»`-.-.-' n Case 5:17--cv-OO-O77 |\/|CR- GR.] Document 1- 2 Filed 03/09/17 Page 28 ot 33

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fN Tl-lE CIRCUIT COURT OF Tl-lE FOURTEENTl-l JUDlClAL CIRCUIT
IN AND FOR BAY COUNTY, FLORIDA

CAROLYN HUTCHINSON, and
her husband, MANUEL B. HUTCHINSON,

Plaintiffs,
vs.
Case No.: 170001 71 CA
GEICO GENERAL lNSURANCE COMPANY_,

Defendant.
/

 

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era rLonir)A caller rrNANCiAL osrrcnn
As REGISTERED AGENT
200 EAST causes sTREET
TALLAHAssEn, FLoRn)A 32399

IMPORTANT

A lawsuit has been filed against you. You have twenty (20) calendar days after
this summons is served upon you to file a written response to the attached Complaint
with the Clerl< ofthis Court. A phone call Will not protect you. Your written response,
including the case number given above and the names oi` the parties, must be filed if you
want the Court to hear your side of the case. if you do not file your response on time,
you may lose the case, and your wages, money, and property thereafter be taken without
further warning from the Court. Thcrc arc other legal requirementsl You may want to
call an attorney right away. lf you do not know an attorney, you may call an attorney
referral service or a legal aid office {:listed in the phone book).

If you choose to file a written response yourself, at the same time you file your
written response to the Court, you must also mail or take a copy of your written response
to the "Plaintit`f/Plaintift‘s Attorney" named below:

PlaintifPs Attorney: R. Waylon Thompson
’ l\/lANU_EL & Tl-IOMPSON_. P.A.
314 l\/lagnolia Avcnuc, P. O. Box 1470
Panama City, Florida 32402
Ph) 850-785-5555

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THE STATE OF FLORII)A: 7 '

TO EACH SHERIFF ()F THE STATE: You are commanded to Serve this
SUMMONS and a copy of the COMPLATNT and attachments on the above-named
Defendant.

DATED this 14th day of February, 2017.

CLERK, CIRCUIT COURT

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l_:)eputy Clerk

   

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CAROLYN HUTCHINSON, AND HER HUSBAND, CASE #; 17000171CA

MANUEI_, B. HUTCHINSON COURT: CIRCUIT COURT
COUNTY: BAY

PLAlNT[FF(S) ' DFS-SOP #: 17-000032110

VS.

GElCO GENERAL INSURANCE COMPANY

osraNoANrrs) ,

 

SUMMONS, COMPLAINT, DlSCOVERY

NOTICE OF SERVICE OF PROCESS

NOTICE lS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of
the State of Florida. Said process was received in rny office by MAIL on Friday, February 17, 2017
and a copy was forwarded by ELECTRONIC DELIVERY on Monday, February 20, 2017 to the
designated agent for the named entity as shown below.

GEICO GENERAL INSURANCE COMPANY
SHAWN BURKLIN

P.O. BOX 9091
MACON GA 338]1

*Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not
responsible for transmittal of any subsequent flllings, pleadings, or documents unless otherwise ordered
by the Court pursuant to Florida Rules of Civil Procedurc, Rule #1.080 `

write

Jeff Atwater
ChiefFinancial Officer

R. WAYLON THOMPSON
314 MAGNOLIA AVENUE
PO. BO){ 1470

PANAM/\ ClTY FI_, 32402

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_ "‘ -.~_::»_ ' Case 5:17-0\/- -00077- |\/|CR- GR.] Document 1- 2 Filed 03/09/17 Page 31 of 33
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TN Tl-IE CIRCUIT COURT OF THE FOURTEENTH JUDlClAL CIRCUIT
lN AND FOR BAY COUNTY, FLORIDA

CAROLYN HUTCHINSON, and
her husband, MANUEL B. HUTCHINSON,

Plaintit`l`s,

VS.

Case No.: 17000171CA
GEICO GENERAL INSURANCE COMPANY,

Det`endant.
/

SUMMONS

To Dct`cndant(s) GEICO GENERAL INSURANCE COMPANY
c/o FLOR[I)A CHIEF FINANClAL OFFICER
AS REGISTERED AGENT
200 EAST GAINES STREET
TALLAHASSEE, FLORlDA 32399

IMPORTANT

A lawsuit has been filed against you. You have twenty (20) calendar days after
this summons is served upon you to tile a written response to the attached Complaint
with the Clerk of this Court. A phone call will not protect you. Your written response,
including the case number given above and the names ot` the parties, must be filed it` you
want the Court to hear your side of the ease lf you do not tile your response on time,
you may lose the case, and your Wages, money, and property thereafter be taken without
further Warning from the Court. Thcrc arc other legal requirements You may want to
call an attorney right away. ll` you do not know an attorney, you may call an attorney
referral service or a legal aid office (listed in the phone book).

on 17 February, 2017 anid“s_ei'ved on defendant or named party on 20 February, 2017

by the Florida Department of Financia| Serviees

Il` you choose to file a written response yourself, at the same time you file your
written response to the Court, you must also mail or take a copy of your written response
to the "Plaintiff/Plaintift‘s Attorney" named below:

Plaintiff's Attorney: R. Waylon Thompson
“ MANUEL & THOMPSON, P.A.
314 l\/lagnolia Avenuc, P. O. Box 1470
Panania City, Florida 32402
Ph) 850-785-5555

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Case 5:17-cV-OOO77-I\/|CR-GR.-] Document 1¥2 `Filed 03/09/17 Page 32 of 33

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THE STATE OF FLORIDA: _ '
TO EACH SHERIFF OF THE STATE: You arc commanded to serve this
SUMMONS and a copy of the COMPLATNT and attachments on the above-named
Defendant.
DATED this 14th day of February, 201'!.

CLERK, CIRCUIT COURT

  

Deputy Clerk

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IN THE CIRCUIT COURT OF THE FOURTEENTH JUDICIAL CIRCUIT
11\1 AND FOR BAY COUNTY, FLORlDA

CAROLYN HUTCHINSON, and
her husband, MANUEL B. HUTCHINSON,

Plaintiffs,
VS.
Case No.: 17~000171CA
GEICO GENERAL lNSURANCE COMPANY,

Defendant.
/

 

NOTICE OF FILING
PLAINTIFFS, CAROLYN and MANUEL B. HUTCHFNSON, by and through their
undersigned eounsel, hereby give notice of filing the Notice of Service of Process on Defendant,
GEICO GENERAL lNSURANCE COMPANY.
CERTIFICATE OF SERVICE
l HEREBY CERTIFY that a copy of the foregoing has been furnished to GEICO
GENERAL INSURANCE COMPANY Atten: Shawn Burl<lin, P.O. 9091, Macon, GA 33811

via U. S. Mail, this lst day of l\/larch, 2017.

MANUEL & 'I`HOMPSON, P.A.

/s/ R. Way1on Thompson

R. Waylon Thompson

Florida Bar No. 0769381
wavloiit'ri§nianuelthompson.com

314 Magnolia Avenue

Post Oftice Box 1470

Panarna City, FL 32402

Ph: 850~785-5555; Fx: 850-785~0133
Attorney for Plaintiffs

